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                        UNITED STATES DISTRICT COURT
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                      CENTRAL DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,             Case No.: 2:19-cr-00642-VAP
11                                              No.: 2:20-cr-00155-VAP
12              Plaintiff,
         v.
13                                          ORDER DENYING DEFENDANT
14   IMAAD SHAH ZUBERI,                    IMAAD SHAH ZUBERI’S
                                           APPLICATION FOR LEAVE TO
15              Defendant.                 FILE DOCUMENT UNDER SEAL
16
17                                         Judge: Hon. Virginia A. Phillips
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                                           Date: May 3, 2021
19                                         Time: 9:00 a.m.
20                                         Ctrm.: 8A
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      ORDER GRANTING APPLICATION FOR LEAVE TO FILE DOCUMENTS
                           UNDER SEAL
 Case 2:19-cr-00642-VAP Document 356 Filed 04/20/21 Page 2 of 2 Page ID #:7285




1                                         ORDER
2          This Court, having considered the Application for Leave to File Document
3    Under Seal in Support of Defendant Zuberi’s Reply to Motion to Extend
4    Surrender Date Under Seal, hereby DENIES the application, finding no good
5    cause exists for the requested sealing order. The documents are not to be filed and

6    returned to counsel.

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     IT IS SO ORDERED.
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     Dated: April 20, 2021
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                                           The Honorable Virginia A. Phillips
13                                         United States District Judge
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      ORDER GRANTING APPLICATION FOR LEAVE TO FILE DOCUMENTS
                           UNDER SEAL
